·1,.o;,".'-~'.~."~epartment
                     Case 4:16-cv-00878-BSM
                            of Justice
                                                                               Document 8 Filed 01/25/17 Page 1 of 2
                                                                                     PROCESS RECEIPT AND RETURN
                                                                                            See Instructions for "SeNice of Process by the U.S. Marshal"
        United States Marshals Service                                                      on the reverse of this form.

        PLAINTIFF                                                                                                         COURT CASE NUMBER
         David A Stebbins                                                                                                  4:16-cv-00878-BSM
       DEFENDANT                                                                                                          TYPE OF PROCESS
         Arkansas, State of                  I    et al.                                                                  Summons and Complaint
       SERVE                   NAME OF INDMDUAL, COMPANY, CORPORATION. ETC., TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN




               •
               AT
                            Boone County Circuit Court Clerk
                               ADDRESS Street or RFD, Apartment No., City, State and ZIP Code)

                            100 N. Main St., Ste. 203
       SEND NOTICE OF SERVICE COPY TO REQUESTER AT NANE AND ADDRESS BELOW:
                                                                                            Harrison, AR             72601

                                                                                                               I Number c:I process to be
                                                                                                               I served with this Fam - 285
                      lnavid A Stebbins                                                                        I
                                                                                                               I           -
                       123 W Ridge St. Apt. D                                                                  I Number of panies to be
                       Harrison, AR 72601                                                                      I served in this case

                      L                                                                                        :Check for service


                                                                                             dl:Elii\iG SERVICE (Include Business -
      - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - ! o n U.S.A.
                                                                                                                                                               ~
       SPECIAL INSmUCTICN> OR 011-ER IN'CRlllATIQ\I THAT WLL ~l1L
       Telephone Number, and Estimated Times Available For Service):                l.
                                                                                u. 01\rRl!f'"ct'G'RT
                                                                                                                                                                            Fold
       Fold                                                                 EASTERN DISTRICT ARKANSAS


                                                                                    JAN 2 5 2017
                                                                                                                                                                      <
                                                                                                                                                                      tD
                                                                                                                                                                      0..

       Signature of Attorney or other Originator requesting service on behalf ol:                               TELEPHONE NUMBER                         DA~
                                                                                            0 PLAINTIFF
        /s/ K. Rochelle                                                                     0 DEFENDANT                                                  1/13/2017

       SPACE BELOW FOR USE OF U.S. MARSHAL ONLY-DO NOT WRITE BELOW THIS LINE
       I acknowledge receipt for the total       Total Process District      District                                                                              Date
       number of process Indicated.                            of Origin     to Serve
       (Sign only first USM 285 if more
       than one USM 285 is submitted)                           No.If/__ No

      I hereby certify and retum that I 0 have personally served, 0 have legal evidence of service,    ave executed as shown in "Remarks", the procees described
      on the Individual, company, corporation, etc., at the address shown above or on the Individual, company, corporation, etc., shown at the address Inserted below.


      0 I hereby certify and retum that I am unable to locate the individual, company, corporation, etc., named above (See remarks below)
       Name and title of individual served {If not shown above)                                                                       A person of suitable age and dis·
                                                                                                                                  0   aatiCll then residing In the defendant's
                                                                                                                                      UIUlll place of abode.
       Address (complete only if different than shown above)                                                                      Date of Service       Time                am


                                                                                                                                  rzo-n
                                                                                                                                  Signature of U.S. Marshal or Deputy
                                                                                                                                                                            pm



                                                                                                                              I
              Service Fee   Total Mileage Charges       Forwarding Fee Total Charges     Advance Deposits     Amount owed to U.S. Marshal or             Amount of Refund


              <{.oo
       REMARKS:
                            (inc/udmg endeavors)
                                                                                                                     ~.oo                           I

       PRIOR EDITIONS                                                                                                                    FORM USM-285 (Rev. 12/15/80)
       J\M.Y BE USED
                                                               1. CLERK OF THE COURT
..   Case 4:16-cv-00878-BSM                       Document 8         Filed 01/25/17                     Page 2 of 2




                                                                                                                    B. Date of Delivery




              lllUll JIJIJIJU H
              9414 7266 9904 2080 1332 22
                                                                    C. Signature


                                                                    x
                                                                    D. Is delivery address different from item 1?
                                                                                                                            0Agent
                                                                                                                            0Addressee
                                                                                                                            0Yes
                                                                       If YES, enter delivery address below:                0No

            3. Service Type CERTIFIED MAIL®

            4. Restricted Delivery? (Extra Fee)      Dves
            1. Article Addressed to:
                                                                          Reference Information
           Boone County Circuit Clerk
           lOON. Main Street, Suite 203
                                                                                4: I 6CV00878                                             '
                                                                                                                                          1
           Harrison, AR 7260 I


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                                                       Domestic Return Receipt
